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3                                 UNITED STATES DISTRICT COURT

4                                      DISTRICT OF NEVADA

5                                                  ***

6     VICTORIA JOY GODWIN,                               Case No. 2:17-cv-02178-MMD-DJA

7                                     Plaintiff,                      ORDER
             v.
8
      SENIOR GARDEN APARTMENTS, et al.,
9
                                   Defendants.
10

11          In addition to the Court’s directives in its order accepting and adopting the Report

12   and Recommendation (“R&R”) of Magistrate Judge Daniel J. Albregts concerning Plaintiff

13   Victoria Joy Godwin’s Third Amended Complaint (“TAC”) (ECF Nos. 36, 42), the Court

14   further orders as follows:

15          It is ordered that the Clerk of the Court must forward the USM-285 forms received

16   (including ECF Nos. 57 and 58) and the summonses that have been issued (ECF No. 62)

17   to the U.S. Marshal for service upon Defendants.

18          It is further ordered that the Clerk will also send sufficient copies of the TAC (ECF

19   No. 34) and this Order to the U.S. Marshal for service on the Defendants.

20          It is further ordered that within 20 days after receiving from the U.S. Marshal a copy

21   of the USM-285 forms showing whether service has been accomplished, Plaintiff must file

22   a notice with the Court identifying which Defendant(s) were served and which were not

23   served, if any. If Plaintiff wishes to have service again attempted on an unserved

24   Defendant(s), then a motion must be filed with the Court identifying the unserved

25   Defendant(s) and specifying a more detailed name and/or address for said Defendant(s),

26   or whether some other manner of service should be attempted.

27          Plaintiff is reminded that under Federal Rule of Civil Procedure 4(m), service must

28   be completed within 90 days of the date of this Order. If Plaintiff requires additional time
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1    to meet any of the deadlines set by the Court, she must file a motion for extension of time

2    under Local Rule 1A 6-1 that is supported by a showing of good cause. A motion filed after

3    a deadline set by the Court or applicable rules will be denied absent a showing of

4    excusable neglect.

5           Once a Defendant is served, Plaintiff must serve a copy of every pleading or other

6    document submitted for consideration by the Court upon the Defendant or, if an

7    appearance has been entered by counsel, upon the attorney. Plaintiff must include with

8    the original of each document to be filed with the Court a certificate stating that a true and

9    correct copy of the document was served on the Defendant, or counsel, if the Defendant

10   has an attorney. Under Local Rule 5-1 the proof of service must show the day and manner

11   of service and the name of each person served. The Court may disregard any paper

12   received which has not been filed with the Clerk, or that fails to include a certificate of

13   service.

14          DATED THIS 9th day of July 2020.

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17                                              MIRANDA M. DU
                                                CHIEF UNITED STATES DISTRICT JUDGE
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